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18 44, (Rav. 6/17) TXND (Rev. 06/17) CIVIL COVER SHEET

The J§ 44 civil cover sheet and the information contained herein neither replace nor, ement the filing and service of pleadings or other papers as required law, except as
provi local rules of court. This form, approved by the Judicial Conference of the United States in September 17a is required for the use of the Clerk of cout for the
purpose of initiating the civil docket sheet.” (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS

MaAwety Oe DayARHAKEd

(b) County of Residence of First Listed Plaintiff Koi Ty County of Residence of First Listed Defendant

 

(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) Attomeys (If Known)

TANCE DEVARHAMION

 

 

 

 

 

II, BASIS OF JURISDICTION (Place an “X" in One Box Only) Ill, CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for De Defendani)
O01 US. Government 3 Federal Question PTF DEF . DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State O = © 1 _ Incorporated or Principal Place OD 4 04
of Business In This State
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Defendant (Indicate Citizenship of Parties in Item IID) of Business In Another State
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VIL CAUSE OF ACTION Brief description of cause: all ey if — .
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VII. REQUESTED IN O CHECK IF THISIS A CHECK YES only if demanded in complaint.
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: O Yes ONo
VIII, RELATED CASE(S)
IF ANY (Gas instructions): GE DOCKET NUMBER

 

 

DATE SIGNATURE OF ATTORNEY OF RECORD

 

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RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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Case 3:19-cv-02240-M-BK Document 3 Filed 09/17/19 Page 3of4 PagelD 7

JS 44 Reverse (Rev. 06/17) - TXND (Rev, 06/17)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. Ifthe plaintiff or defendant is a government agency,

use only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at
the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list therm on an attachment,
noting in this section “(see attachment)".

Il. Jurisdiction. The basis of jurisdiction is set forth under Rule &(a), F.R.Cv.P., which requires that Jurisdictions be shown in pleadings. Place an
"X" in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box | or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Il. _ Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above, Mark
this section for each principal party.

IV. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit
code that is most applicable. Click here_for: f Sui iptions.

Vv, Origin, Place an "X" in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box. .
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.
Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.
Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite ;
jurisdictional statutes unless diversity. Example: U.S. Civil Statute: 47 USC $53 Brief Description: Unauthorized reception of cable service

VII. Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P. ;
Demand, In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII, Related Cases. This section of the JS 44 is used to reference related pending cases, if any. Ifa related case exists, whether pending or closed,
insert the docket numbers and the corresponding judge names for such cases. A case is related to this filing if the case: 1) involves some or all of the
same parties and is based on the same or similar claim; 2) involves the same property, transaction, or event; 3) involves substantially similar issues of
law and fact; and/or 4) involves the same estate in a bankruptcy appeal.

Date and Attorney Signature. Date and sign the civil cover sheet.

 
 

 

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Content-Type: text/plain
This is an automatic e-mail message generated by the CM/ECF system.
Please DO NOT RESPOND to this e-mail because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States ~
policy permits attorneys of record and parties in a case (anctuding pro se
itigants) to receive one free electronic copy of all documents filed electronically, if
receipt is required by law or directed by the filer. PACER access fees apply
to all other users. To avoid later charges, download a copy of each document
during this first viewing. However, if the referenced document is a transcript,
the free copy and 30 page limit do not apply.

U.S. District Court
Northern District of Texas

Notice of Electronic Filing '
The following transaction was entered on 9/16/2019 4:38 PM CDT and filed
on 9/16/2619

Case Name: Devabhaktuni v. Rutherford

Case Number: 3:19-cv-@2208-X-BN
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New Case Notes: A filing fee has not ,

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Horan (see Special Order 3). Case received See Cer VSTELETOMIcally NO

prior sanctions found. (For court use only — links to the <a
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indexes.) Pursuant to Misc. Order 6, Plaintiff is provided the Notice of

Right to Consent to Proceed Before A U.S. Magistrate Judge (Judge Horan).

cers to provide copy to plaintiff if not received electronically.

(sre

3:19-cv-02208-X-BN Notice has been electronically mailed to:

3:19-cv-92208-X-BN Notice required by federal rule will be delivered by other
means (as detailed in the Clerk's records for orders/judgments) to:

 
Case 3:20-cv-00564-X-BN Document 2 Filed 03/05/20 Page9of11 PagelD 11
Case 3:20-cv-00@39-M-BH Document6 Filed 02/06/20 Page1of2 PageiD 10

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
MANOGNA DEVABHAKTUNI, )
Plaintiff, )
vs. ) No. 3:19-CV-3039-M-BH
)
DAVID C. GODBEY, et al., )
Defendants. ) ¢
FINAL JUDGMENT

This action having been duly considered and a decision duly rendered, pursuant to h .
Federal Rule of Civil Procedure 58,
It is ORDERED, ADJUDGED and DECREED that:

1. This action is DISMISSED without prejudice based on the prior sanction orders

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in Manogna Devabhaktuni v. Hoftoxable David C. Godbey, No. 3:19-

    
  
   

Tex. Oct. 28, 2019), and ogna Bkvabhaktuni v. All in the Court,

 
  

j (g any future lawsuits to the Northern District
esg she first obtains leave of court from a district judge or magistrate judge through a

proper|motion for leave to file and pays the applicable filing fee. A proper motion for leave to

accompanied by a copy of the plaintiff's proposed filing containing her original signature or that
of her attorney and the applicable filing fee. For any future action submitted by the plaintiff for
filing, either directly or indirectly by transfer, that is not accompanied by a proper motion for
leave to file and the applicable filing fee, the Clerk of Court is directed to: open a new case for

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file an action must be titled as a “Motion for Leave of Court to File Action” and must be
administrative purposes only; docket the plaintiff's filings and a copy of the judgment in this case
|
Case 3:20-cv-00564-X-BN Document 2 Filed 03/05/20 Page 10of11 PagelD 12
Case 3:20-cv-00@39-M-BH Document6 Filed 02/06/20 Page 2of2 PagelD 12

in that new case; and close the case without further order of the Court. Filings, other than a
proper motion for leave or a notice of appeal, that are unaccompanied by a proper motion for
leave to file and the applicable filing fee will not otherwise be addressed or acknowledged by the
Court.

3. The Clerk shall transmit a true copy of this Judgment and the Order Accepting the
Findings and Recommendation of the United States Magistrate Judge to the plaintiff.

SIGNED this 16th day of January, 2020.

 
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The J§ 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in eptember 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM,

I. (a) PLAINTIFFS SD EVAR WMATONE MANoqen | DEFENDANTS GAC ABARA TLCS CALA 5
CenaAcyg Toren

(b) County of Residence of First Listed Plaintiff PAL: AS County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) ke =

   

 

 
  

 

 

 

 

(€) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
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II. BASIS OF JURISDICTION (Piace an “X” in One Box Only) . |. CITIZENSHIP OF PR RS Wifes OF betaweBox for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 US. Government 0 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State e 1 1 1 _ Incorporated or Principal Place ao4 04
of Business In This State
2 U.S. Government 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place os as
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O3 © 3. Foreign Nation a6 O06
Foreign Country

 

IV. NATURE OF SUIT (Piace an “x” in One Box

 

      

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© 130 Miller Act G 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
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© 150 Recovery of Overpayment | P&320 Assault, Libel & Pharmaceutical © 410 Antitrust

& Enft of Judg Slander Personal Injury C3 820 Copyrights © 430 Banks and Banking
© 151 Medicare Act [FS 330 Federal Employers’ Product Liability C7 830 Patent 0 450 Commerce
© 152 Recovery of Defaulted Liability O 368 Asbestos Personal © 835 Patent - Abbreviated 0) 460 Deportation

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O 160 Stockholders’ Suits G 355 Motor Vehicle 6 371 Truth in Lending Act 6 862 Black Lung (923) 6 850 Securities/Commodities/
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© 195 Contract Product Liability |( 360 Other Personal Property Damage Relations C 864 SSID Title XVI CG 890 Other Statutory Actions
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V. ORIGIN (Place an “x” in One Box Only)

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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Perales Conee.

VII. REQUESTED IN =O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.RCv-P. L treliciow DeluRy DEMAND: Yes _ONo
VIII. RELATED CASE(S)

IF ANY (See instructions): E \ R c T : DOCKET ER

VI. CAUSE OF ACTION

 

 

Brief description of cause:

 

 

 

 

 

DATE SIGNATURE OF ATTORNEY OF RECORD
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RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
